                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 1 of 9 Page ID #:3757



                                                                                                         1 TUCKER ELLIS LLP
                                                                                                           PATRICK ZAKHARY 298371
                                                                                                         2 515 South Flower Street
                                                                                                           Forty-Second Floor
                                                                                                         3 Los Angeles, CA 90071-2223
                                                                                                           Telephone: 213.430.3400
                                                                                                         4 Facsimile: 213.430.3409

                                                                                                         5 TUCKER ELLIS LLP
                                                                                                           NICOLE E. GAGE SBN 208658
                                                                                                         6 nicole.gage@tuckerellis.com
                                                                                                           One Market Plaza
                                                                                                         7 Steuart Tower, Suite 700
                                                                                                           San Francisco, CA 94105
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8 Telephone: 415.617.2400
                                                                                                           Facsimile: 415.617.2409
                                                                                                         9
                                                                                                              Attorneys for Defendant
                                                                                                        10    SPIRAX SARCO, INC.
                                                                                                        11
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13                              UNITED STATES CENTRAL DISTRICT
                                                                                                        14                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                                                                                        15

                                                                                                        16                                            Case No. 2:18-cv-01575

                                                                                                        17
                                                                                                                                                      DEFENDANT SPIRAX SARCO, INC.’S
                                                                                                        18    TERRY LEE SIEGFRIED and TERRI           JOINDER IN DEFENDANT ELLIOT
                                                                                                              SIEGFRIED,                              COMPANY’S NOTICE OF REMOVAL
                                                                                                        19                                            OF ACTION UNDER 28 U.S.C. §
                                                                                                                              Plaintiffs,             1442(A)(1) (GOVERNMENT
                                                                                                        20                                            CONTRACTOR IMMUNITY - ACTING
                                                                                                                      v.                              UNDER DIRECTION OF FEDERAL
                                                                                                        21                                            OFFICERS
                                                                                                              3M COMPANY (f/k/a MINNESOTA
                                                                                                        22    MINING & MANUFACTURING                  State Case No.:     BC691900
                                                                                                              COMPANY), etc., et al.                  State Action Filed: January 26, 2018
                                                                                                        23
                                                                                                                                                      Trial Date:         None
                                                                                                                              Defendants.
                                                                                                        24

                                                                                                        25

                                                                                                        26    TO THE HONORABLE COURT AND TO ALL PARTIES AND THEIR
                                                                                                        27    ATTORNEYS OF RECORD:
                                                                                                        28
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 2 of 9 Page ID #:3758



                                                                                                         1            Defendants SPIRAX SARCO, INC. (“Sarco”) hereby gives notice that it
                                                                                                         2    joins in Defendant Elliot Company (“Elliot Company”) Notice of Removal of the
                                                                                                         3    above-entitled action from the Superior Court of the State of California for the
                                                                                                         4    County of Los Angeles, to the United States District Court for the Central District
                                                                                                         5    of California pursuant to 28 U.S.C. §§ 1442(a)(1) and 1446. This notice of joinder
                                                                                                         6    to Elliot Company’s Notice of Removal and consent to removal is based on
                                                                                                         7    Sarco’s separate and independent right to remove under the federal officer removal
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8    statute. In support of its joinder, Sarco respectfully states the following:
                                                                                                         9                                    Preliminary Matters
                                                                                                        10            1.   On January 26, 2018, Plaintiffs Terry Lee Siegfried and Terri
                                                                                                        11    Siegfried filed a Complaint for Personal Injuries against multiple defendants,
TUCKER ELLIS LLP




                                                                                                        12    including Sarco, in the Superior Court of the State of California for the County of
                                                                                                        13    Los Angeles. On February 15, 2018, Sarco filed its Answer to the Complaint.
                                                                                                        14    Attached hereto as Exhibit A is a true and correct copy of Plaintiffs Terry Lee
                                                                                                        15    Siegfried and Terri Siegfried’s Complaint against Sarco. Sarco’s Answers to the
                                                                                                        16    same are attached hereto as Exhibit B. Sarco has not been served with any other
                                                                                                        17    pleadings.
                                                                                                        18            2.   Plaintiffs allege in their Complaint that Terry Lee Siegfried was
                                                                                                        19    injured as a result of exposure to asbestos and asbestos-containing products while
                                                                                                        20    working for the Long Beach Naval Shipyard aboard countless naval vessels
                                                                                                        21    between 1969 and 1996.
                                                                                                        22            3.   This case is removable based on federal officer jurisdiction under 28
                                                                                                        23    U.S.C., § 1442(a)(1). Plaintiffs’ claims against Sarco are based on Mr. Siegfried’s
                                                                                                        24    exposure to equipment allegedly supplied to the United States Navy; products that
                                                                                                        25    would have been designed and manufactured in accordance with specifications
                                                                                                        26    provided by the U.S. government, and designed and built under the direction and
                                                                                                        27    control of the U.S. government and its officers.
                                                                                                        28
                                                                                                                                                            2
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 3 of 9 Page ID #:3759



                                                                                                         1            4.   This Joinder in Elliot Company’s Notice of Removal is timely. The
                                                                                                         2    30-day removal period prescribed by 28 U.S.C. § 1446(b) begins to run when
                                                                                                         3    defendant receives a copy of the initial pleading setting forth the claim for relief
                                                                                                         4    from which it may first be ascertained that the case is removable. 28 U.S.C. §
                                                                                                         5    1446(b). Sarco was served with the Complaint on January 30, 2018. (Exhibit A.)
                                                                                                         6    The receipt of the Complaint puts Sarco on notice for the first time in this action
                                                                                                         7    that Plaintiffs’ claims involve Mr. Siegfried exposure to asbestos in military
                                                                                                              equipment allegedly built for the United States Government pursuant to
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9    specifications provided by the U.S. Navy and under the direction and control of the
                                                                                                        10    U.S. government and its officers. As this Joinder in Notice of Removal is being
                                                                                                        11    filed within 30 days of Sarco’s receipt of the Complaint, it is timely under 28
                                                                                                              U.S.C. § 1446(b).
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13                                    Nature of the Case
                                                                                                        14            5.   This case is based on Plaintiffs’ allegations that Mr. Siegfried
                                                                                                        15    contracted mesothelioma and/or other asbestos-related diseases as a result of his
                                                                                                        16    exposure to asbestos dust and fibers.
                                                                                                        17            6.   Plaintiffs assert claims against Sarco for Negligence, Strict Liability,
                                                                                                        18    False Representation under Restatement of Tort Section 402-B, Intentional
                                                                                                        19    Tort/Intentional Failure to Warn and Loss of Consortium.
                                                                                                        20                   Jurisdiction, Venue and Intradistrict Assignment
                                                                                                        21            7.   Jurisdiction is based on 28 U.S.C. §§ 1331 and 1442(a)(1) as set forth
                                                                                                        22    below under Grounds for Removal.
                                                                                                        23            8.   Venue is proper in the Central District of California because the state
                                                                                                        24    court action, which is subject to this removal petition, was filed in the Superior
                                                                                                        25    Court of California for the County of Los Angeles.
                                                                                                        26            9.   Furthermore, §1442(a) authorizes such a removal without the consent
                                                                                                        27    of any other defendant. See Ely Valley Mines, Inc. v. Hartford Acc. & Indem. Co.,
                                                                                                        28
                                                                                                                                                           3
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 4 of 9 Page ID #:3760



                                                                                                         1    644 F.2d 1310, 1314-1315 (9th Cir. 1981) (“federal officer…can remove without
                                                                                                         2    other defendants joining the petition, and the entire case is removed to the federal
                                                                                                         3    court”).
                                                                                                         4                                   Grounds for Removal
                                                                                                         5            10.   This is a civil action over which this Court has original jurisdiction
                                                                                                         6    under 28 U.S.C. § 1331, and is removable to this Court by Sarco pursuant to 28
                                                                                                         7    U.S.C. § 1442(a)(1) in that Plaintiffs’ alleged right to relief depends on the
                                                                                                              resolution of a substantial question of federal law.
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9            11.   Sarco was at all relevant times a “person” within the meaning of 28
                                                                                                        10    U.S.C. § 1442(a)(1). Fung v. Abex Corp., 816 F.Supp. 569, 572 (N.D.Cal. 1992)
                                                                                                        11    (finding that a corporate defendant was a “person”).
                                                                                                                      12.   Should Plaintiffs file a motion to remand this case, Sarco respectfully
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13    requests an opportunity to respond more fully in writing, but offers the following
                                                                                                        14    authorities at this time:
                                                                                                        15            13.   Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate where the
                                                                                                        16    moving party can (1) demonstrate that it acted under the direction of a federal
                                                                                                        17    officer, (2) raise a colorable federal defense to plaintiffs’ claims, and (3)
                                                                                                        18    demonstrate a causal nexus between plaintiffs’ claims and the acts it performed
                                                                                                        19    under color of federal office. See Mesa v. California, 489 U.S. 121, 124-25, 129-
                                                                                                        20    31, 134-35 (1989); Fung v. Abex Corp., 816 F.Supp. 569 (N.D.Cal. 1992);
                                                                                                        21    Machnik v. Buffalo Pumps, Inc., 506 F.Supp.2d 99, 102 (D.Conn. 2007). Here,
                                                                                                        22    Sarco has satisfied all three requirements and is entitled to the federal officer
                                                                                                        23    removal provision.
                                                                                                        24            14.   Plaintiffs claim that Mr. Siegfried was exposed to asbestos from
                                                                                                        25    valves allegedly supplied by Sarco on board U.S. Naval vessels (Complaint,
                                                                                                        26    Exhibit A). Based on Plaintiffs’ allegations, Sarco immunity in that any products
                                                                                                        27    designed, manufactured, or supplied for use on U.S. Navy vessels for which Sarco
                                                                                                        28
                                                                                                                                                            4
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 5 of 9 Page ID #:3761



                                                                                                         1    is allegedly responsible, would have been designed, manufactured, or supplied
                                                                                                         2    under the direction of an officer of the United States within the meaning of 28
                                                                                                         3    U.S.C., § 1442(a)(1).
                                                                                                         4            15.   All valves manufactured for use on U.S. Navy vessels strictly
                                                                                                         5    complied with very precise Navy Department specifications or Military
                                                                                                         6    Specifications (MilSpecs).     Before a manufacturer received authorization to
                                                                                                         7    manufacture or supply valves for/to the U.S. Navy, all of the drawings, plans,
                                                                                                              technical manuals and other design documentation first had to be inspected and
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9    approved by either U.S. Navy. During the time in question, the Navy inspections
                                                                                                        10    and approvals were the responsibility of the Bureau of Engineering and its
                                                                                                        11    successor organization, the Bureau of Ships (hereinafter “Navy”).        The Navy
                                                                                                              frequently required changes in design, materials and documentation before
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13    approving the design and authorizing the manufacture of the valve equipment.
                                                                                                        14            16.   United States Naval Machinery Inspectors were stationed on site at
                                                                                                        15    manufacturing facilities to inspect and test the valves during each phase of the
                                                                                                        16    manufacturing process. At any point, if any material, feature or component of the
                                                                                                        17    valves failed to comply with the applicable specifications, standards or the
                                                                                                        18    approved design, then it would have been rejected. In short, if any valve supplied
                                                                                                        19    to the Navy was installed aboard a U.S. Navy vessel, then it conformed to the
                                                                                                        20    detailed plans that were approved by the Navy and necessarily complied with all of
                                                                                                        21    the precise specifications and standards, including the specification of the precise
                                                                                                        22    material composition of component parts, and any that may have contained
                                                                                                        23    asbestos.
                                                                                                        24            17.   The Navy required the use of many different types of materials in the
                                                                                                        25    equipment built for installation aboard its ships.      Each sub-component was
                                                                                                        26    designed and manufactured in accordance with similarly precise specifications,
                                                                                                        27    standards and, design reviews which also specifically required the precise type of
                                                                                                        28
                                                                                                                                                          5
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 6 of 9 Page ID #:3762



                                                                                                         1    material to be used in these components. Where the specifications or standards
                                                                                                         2    permitted the manufacturer to choose between two or more types of materials
                                                                                                         3    (such as plastic materials or insulation and other heat resistant materials), the
                                                                                                         4    manufacturer’s choice was subject to specific Navy approval. To the extent that
                                                                                                         5    any valve or component part thereof supplied by a manufacturer to the U.S. Navy
                                                                                                         6    for installation and/or use on a naval vessel contained asbestos, it would have been
                                                                                                         7    specifically required or approved by the Navy through the specification and design
                                                                                                              approval process.
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9            18.   If a component on a piece of naval equipment was actually installed
                                                                                                        10    onboard a U.S. Navy vessel, then that component and the material composition of
                                                                                                        11    that component also complied with the precise specifications, standards and design
                                                                                                              requirements that the Navy required for such a component. If such a component
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13    contained asbestos, then the Navy and/or Maritime Commission required that it
                                                                                                        14    contain asbestos. Therefore, every facet of the design and manufacture of valves
                                                                                                        15    manufactured or supplied for use on a Navy vessel was controlled by an agency of
                                                                                                        16    the U.S. Government.
                                                                                                        17            19.   Sarco asserts a colorable federal defense to Plaintiffs’ claims, which
                                                                                                        18    are affirmatively barred by government contractor immunity as stated by the U.S.
                                                                                                        19    Supreme Court in Boyle v. United Technologies Corp., 487 U.S. 500, 108 S.Ct.
                                                                                                        20    2510 (1988), and by the Ninth Circuit Court of Appeals in McKay v. Rockwell
                                                                                                        21    International Corp., 704 F.2d 444 (9th Cir. 1983). Pursuant to this federal defense,
                                                                                                        22    equipment manufacturers, such as Sarco, cannot be held liable under state law for
                                                                                                        23    any injuries caused by the equipment built for or under the control of the U.S.
                                                                                                        24    Government when: (1) the United States approved reasonably precise
                                                                                                        25    specifications; (2) the equipment conformed to these specifications; and (3) the
                                                                                                        26    equipment supplier warns the military about any hazards involved in the use of the
                                                                                                        27    equipment that are known to the equipment supplier but not known to the military.
                                                                                                        28
                                                                                                                                                           6
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 7 of 9 Page ID #:3763



                                                                                                         1    See Boyle, supra, 487 U.S. 500 at 512; McKay, supra, 704 F.2d. 444 at 451;
                                                                                                         2    Sundstrom, supra, 816 F.Supp. 587 at 596-97.
                                                                                                         3            20.   Here, Sarco has raised a colorable federal defense to this action under
                                                                                                         4    government contractor immunity.         To the extent Plaintiffs claim Sarco is
                                                                                                         5    responsible for valves on board U.S. Naval vessels, (1) such components or
                                                                                                         6    equipment would have been designed and manufactured pursuant to precise
                                                                                                         7    specifications provided and approved by the U.S. Government through the Navy
                                                                                                              and/or Coast Guard, (2) the components and equipment would have conformed to
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9    those specifications, and (3) the U.S. Government, one of the world’s leaders in
                                                                                                        10    industrial hygiene concerns, would have possessed information equal to or superior
                                                                                                        11    to that of Sarco concerning issues of industrial hygiene and asbestos medicine,
                                                                                                              including the potential hazards involved with use of asbestos-containing
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13    components or materials associated with valves or other Naval/marine equipment.
                                                                                                        14    Thus, Sarco would not have had knowledge of any hazards associated with the use
                                                                                                        15    of the equipment which was not already known to the U.S. Government.
                                                                                                        16            21.   A causal nexus exists between Plaintiffs’ claims and the acts allegedly
                                                                                                        17    performed by Sarco under the direction of federal officers. Plaintiffs’ claims
                                                                                                        18    against Sarco arise out of Mr. Siegfried’s alleged work on and around valves on
                                                                                                        19    board U.S. Navy for which Sarco is allegedly responsible. Any valves provided
                                                                                                        20    for use in those vessels would have been designed and manufactured pursuant to
                                                                                                        21    precise federal regulations and/or military specifications, and built under the
                                                                                                        22    detailed and direct control of federal officers. The conduct attributable to Sarco is
                                                                                                        23    inseparable from the government specifications, regulations, and oversight, and a
                                                                                                        24    clear causal nexus exists between Plaintiffs’ claims and the acts performed under
                                                                                                        25    color of federal office. Sarco has more than a colorable federal defense to this
                                                                                                        26    state action under government contractor immunity. See Boyle, supra, 487 U.S. at
                                                                                                        27    512; Sundstrom v. McDonnell Douglas Corp., 816 F.Supp. 587 (N.D. Cal. 1993);
                                                                                                        28
                                                                                                                                                           7
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 8 of 9 Page ID #:3764



                                                                                                         1    Fung v. Abex Corp., 816 F.Supp. 569 (N.D. Cal. 1992); Pack v. AC and S, Inc. 838
                                                                                                         2    F. Supp. 1099 (D. Md. 1993); Crocker v. Borden 852 F.Supp. 1322 (E.D. La.
                                                                                                         3    1994); Arness v. Boeing North American, Inc., 997 F.Supp. 1268 (C.D. Cal. 1998).
                                                                                                         4            22.   The existence of a single removable claim allows removal of the
                                                                                                         5    entire action. 28 U.S.C. § 1441(c). National Audubon Society v. Dept. of Water,
                                                                                                         6    496 F.Supp. 499, 509 (E.D. Cal. 1980).
                                                                                                         7            23.   Notice of Elliot Company’s removal has been filed with the state
                                                                                                              court and provided to all adverse parties pursuant to 28 U.S.C. § 1446(d).
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         8

                                                                                                         9            24.   This Notice of Joinder and Joinder is based on this Notice of Removal
                                                                                                        10    to the United States District Court, the Certificate of Service of Notice to Adverse
                                                                                                        11    Party of Removal filed in the state court action, the Notice to Adverse Party of
                                                                                                              Removal to Federal Court filed in the state court action, the complete file in the
TUCKER ELLIS LLP




                                                                                                        12

                                                                                                        13    state court case, and any other matters which the court deems applicable.
                                                                                                        14            WHEREFORE, Sarco hereby joins in Elliot Company’s Notice of Removal

                                                                                                        15    and consents thereto to said removal of this action from the Superior Court of the

                                                                                                        16    State of California for the County of Los Angeles to the United States District

                                                                                                        17    Court for the Central District of California. In the event that Elliot Company is

                                                                                                        18    dismissed from this action or withdraws its Notice of Removal, Sarco prays that

                                                                                                        19    this Court retain jurisdiction based on Sarco’s independent right to federal officer

                                                                                                        20    removal jurisdiction as set forth herein.

                                                                                                        21    DATED: March 1, 2018                              TUCKER ELLIS LLP
                                                                                                        22

                                                                                                        23
                                                                                                                                                          By:    ____________
                                                                                                        24                                                      Patrick Zakhary
                                                                                                                                                                Nicole E. Gage
                                                                                                        25                                                      Attorneys for Defendant
                                                                                                                                                                SPIRAX SARCO, INC.
                                                                                                        26
                                                                                                        27

                                                                                                        28
                                                                                                                                                            8
                                                                                                               DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT COMPANY’S NOTICE OF
                                                                                                                                                   REMOVAL
                                                                                                              1339032.1
                                                                                                             Case 2:18-cv-01575-FMO-E Document 42 Filed 03/01/18 Page 9 of 9 Page ID #:3765



                                                                                                         1                                           CERTIFICATE OF SERVICE
                                                                                                                       I, Debbie Estebanez, certify and declare as follows: I am over the age of 18 years and not a party
                                                                                                         2    to this action. I am employed by the law firm Tucker Ellis LLP, and my business address is One Market
                                                                                                         3    Plaza, Steuart Tower, Suite 700, San Francisco, California 94105, which is located in the city, county
                                                                                                              and state where the service described below took place.                         My email address is
                                                                                                         4    debbie.estebanez@tuckerellis.com.
                                                                                                                       On March 1, 2018, I served on all interested parties in this action a copy of the following
                                                                                                         5    document(s):
                                                                                                           DEFENDANT SPIRAX SARCO, INC.’S JOINDER IN DEFENDANT ELLIOT
                                                                                                         6 COMPANY’S NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. §
                                                                                                           1442(A)(1) (GOVERNMENT CONTRACTOR IMMUNITY - ACTING UNDER
                                                                                                         7 DIRECTION OF FEDERAL OFFICERS
                                                                                                               [ X ] by electronically serving the documents described above via United States District Court
                                                                                                         8
                                                                                                              Electronic Case Filing website (CM/ECF notification system) on the recipients designated on the
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                         9    electronic service list that is located on the PACER website.
                                                                                                              [ X ] FEDERAL: I declare that I am employed in the office of a member of the bar of this Court at
                                                                                                        10    whose direction the service was made. I declare under penalty of perjury under the laws of the United
                                                                                                              States of America that the foregoing is true and correct.
                                                                                                        11
                                                                                                                      Executed on March 1, 2018, at San Francisco, California.
                                                                                                        12
TUCKER ELLIS LLP




                                                                                                        13

                                                                                                        14
                                                                                                                                                           Debbie Estebanez
                                                                                                        15

                                                                                                        16

                                                                                                        17

                                                                                                        18
                                                                                                        19

                                                                                                        20

                                                                                                        21

                                                                                                        22

                                                                                                        23

                                                                                                        24

                                                                                                        25

                                                                                                        26
                                                                                                        27

                                                                                                        28

                                                                                                                                                      CERTIFICATE OF SERVICE
                                                                                                              1339032.1
